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February 19, 2021                                                    The Court intends to grant the relief jointly
                                                                     requested by the parties. Mr. Galanis shall first,
By ECF                                                               however, confirm whether he consents to the
Honorable Ronnie Abrams                                              Court doing so on the papers or whether he
United States District Court Judge                                   seeks an in-person re-sentencing proceeding.
United States Courthouse
40 Foley Square                                                      SO ORDERED.
New York, New York 10007

Re: United States v. John Galanis,                                   ___________________________
    16 CR 371 (RA)                                                   Ronnie Abrams, U.S.D.J.
                                                                     February 19, 2021
Your Honor,

         In August of 2020 I had written the Court asking the Court to clarify its sentencing terms to the
Bureau of Prisons (BOP) because the BOP has severely miscalculated Mr. Galanis’ prison term. To refresh
the Court’s memory, I have attached the previous letters to the Court as Exhibits to this letter. Ultimately
although the Government agreed that Mr. Galanis sentence language needed to be adjusted so that the
BOP could properly calculate Mr. Galanis’ sentence according to the Court’s intentions at the time of
sentencing, it was also agreed that the Court had no jurisdiction at that time because Mr. Galanis was
prosecuting his appeal in the Second Circuit. The Second Circuit has now ruled on the appeal, so the
appellate process is complete. Thus, this Court now has regained jurisdiction of this motion. Accordingly,
and most respectfully, with the Government’s approval, I would ask that the Court pursuant to 28 USC
§2255 to resentence Mr. Galanis to a term of incarceration of 97 months 17 days with 48 of those months
to be served consecutively to the sentence imposed by Judge Castel in case number 15 CR 643 and the
remainder of the sentence to run concurrently to the sentence imposed by Judge Castel. This resentence
will result in Mr. Galanis serving a total of 120 months in jail which was the Court’s stated intention when
it sentenced Mr. Galanis on March 8, 2019. Of course, the Court should also reimpose the same three
year term of supervised release to which Mr. Galanis was originally sentenced too.

Thank you very much for your prompt consideration of this matter.

                                                                  Most Respectfully,


                                                                  David Touger
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                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      August 31, 2020
BY ECF


The Honorable Ronnie Abrams
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. John Galanis, 16 Cr. 371 (RA)

Dear Judge Abrams:

        The Government submits this letter response to the defendant’s letter-motion requesting
that the Court “clarify its sentencing terms to the Bureau of Prisons” to give him credit for time
served prior to the imposition of sentence in the instant matter. (Aug. 19, 2019 Ltr. at 1). As set
forth below, while the Bureau of Prison’s calculation of the defendant’s sentence is legally correct,
the Government agrees that it does not comport with the sentence the Court intended to impose.
Accordingly, the Government – with the defendant’s consent – respectfully requests that the Court
construe the defendant’s letter as a motion to vacate, set aside, or correct a sentence pursuant to 28
U.S.C. § 2255, grant the motion, and resentence the defendant principally to 97 months and 17
days.

                                       Relevant Background

        On September 24, 2015, John Galanis was arrested on the basis of an Indictment (the
“Gerova Indictment”) charging him with one count of conspiracy to commit securities fraud in
violation of Title 18, United States Code, Section 371, one count of securities fraud in violation
of Title 15, United States Code, Sections 78j(b) and 78ff, Title 17, Code of Federal Regulations,
Section 240.10b-5, one count of conspiracy to commit wire fraud, in violation of Title 18, United
States Code, Section 1349, and one count of wire fraud, in violation of Title 18, United States
Code, Section 1343. On July 20, 2016, Galanis pled guilty to Counts One and Two of the
Gerova Indictment. On February 16, 2017, Judge Castel sentenced Galanis principally to 72
months’ imprisonment (the “Gerova Sentence”). On April 25, 2017, Galanis began serving the
Gerova Sentence.

       In the meantime, while the prosecution of the Gerova case was pending, on May 31, 2016
a grand jury returned an indictment (the “Wakpamni Indictment”) charging Galanis with one count
of conspiracy to commit securities fraud in violation of Title 18, United States Code, Section 371,
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and one count of securities fraud in violation of Title 15, United States Code, Sections 78j(b) and
78ff, Title 17, Code of Federal Regulations, Section 240.10b-5, in connection with his role in the
Wakpamni Fraud. Galanis proceeded to trial and on June 28, 2018, a jury found Galanis guilty on
all counts. On March 8, 2019, this Court sentenced Galanis to a term of imprisonment of 120
months and directed that “48 of those months is to be served consecutively to the sentence imposed
by Judge Castel, and the remainder of the sentence is to run concurrently to the sentence imposed
by Judge Castel.” (Sent. Tr. at 39). The Court also sentenced Galanis to three years supervised
release.

                                           Discussion

        A defendant who has exhausted his administrative appeals with the Bureau of Prisons
(“BOP”) may challenge the computation of his sentence solely through a motion pursuant to 28
U.S.C. § 2241. Pointdexter v. Nash, 333 F.3d 372, 377 (2d Cir. 2003) (explaining that section
2241 is the proper way for a federal inmate to challenge the BOP’s calculation of credit to be
given for other periods of detention). Such a motion must be brought in the district in which the
petitioner is confined. See United States v. Kakar, 746 F. Supp. 369, 370 (S.D.N.Y. 1990)
(“Claims for pre-sentence credit must be made by a petition for a writ of habeas corpus pursuant
to 28 U.S.C. § 2241, and must be brought in the district in which the petitioner is confined or
where his custodian is located.”); accord United States v. Werber, 51 F.3d 342, 349 (2d Cir.
1995) (recognizing that a challenge to the BOP’s calculation of a sentence under 18 U.S.C. §
3585 is properly raised in a § 2241 petition brought in the district where the movant is
imprisoned). Thus, because the defendant is presently incarcerated at FCI Terminal Island, in
California, this Court lacks jurisdiction to adjudicate his claim.

        The Government agrees, however, that the BOP’s correct legal calculation results in a
sentence longer than that the Court intended to impose. When the Court stated that it intended
the defendant to serve 48 months consecutively to the Gerova Sentence and “the remainder of
the sentence to run concurrently to the [Gerova Sentence],” the Court clearly contemplated that
Galanis would serve only 48 months’ beyond the Gerova Sentence. But the BOP’s proper
calculations pursuant to 18 U.S.C. § 3585 do not permit Galanis to receive credit towards the
Wakpamni sentence for time served prior to its imposition. As a result, the 120 months imposed
by this Court began to run on the date sentence was imposed, without credit for the nearly two
years Galanis served in custody as a result of the Gerova Sentence.

        Accordingly the Government and the defendant jointly request that the Court construe the
instant motion as a motion to vacate, correct, or set aside a sentence pursuant to 28 U.S.C. §
2255. Although defense counsel’s error was understandable – indeed, both the Government and
the Court operated under the same misunderstanding as defense counsel – counsel rendered
ineffective assistance by failing to apprise the Court that the structure of the sentence imposed
would result in the defendant’s serving a sentence nearly two years longer than the Court
intended. The parties further request that the Court resentence the defendant to a term of
incarceration of 97 months and 17 days, which the BOP has advised will effectuate the Court’s
original intent. The parties further request that the Court reimpose the same three year term of
supervised release to which the defendant was previously sentenced.
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                                         Conclusion

        For the foregoing reasons, the parties respectfully request that the Court grant the
defendant’s motion and resentence him to a term of imprisonment of 97 months and 17 days, to
be followed by three years supervised release.


                                                    Respectfully submitted,


                                                    AUDREY STRAUSS
                                                    Acting United States Attorney for
                                                    the Southern District of New York

                                              By:          /s/
                                                    Rebecca Mermelstein
                                                    Negar Tekeei
                                                    Assistant United States Attorney
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                                                     New York, New York 10007



                                                      September 2, 2020


BY ECF


The Honorable Ronnie Abrams
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. John Galanis, 16 Cr. 371 (RA)

Dear Judge Abrams:

       The parties jointly write in response to the Court’s order of September 1, 2020 to apprise
the Court of the parties’ view with respect to (i) whether the Court has jurisdiction to grant
Galanis’s § 2255 Motion during the pendency of his appeal; and (ii) whether the Court can
resentence Galanis by written order.

         The parties agree that the Court lacks jurisdiction to grant Galanis’s § 2255 Motion during
the pendency of his appeal. See, e.g., United States v. Ransom, 866 F.2d 574, 575–76 (2d Cir.
1989) (district court “lack[s] authority” to order “substantive modifications of judgments” during
the pendency of an appeal). The parties also agree that a full resentencing is neither necessary nor
warranted. Section 2255 explicitly gives a district court wide discretion in deciding the appropriate
remedy after granting such a motion. See 28 U.S.C. § 2255(b) (“the court shall vacate and set the
judgment aside and shall discharge the prisoner or resentence him or grant a new trial or correct
the sentence as may appear appropriate”); See, also, Carranza v. United States, 794 F.3d 237, 241
(2d Cir. 2015) (recognizing that the remedy for a granted 2255 petition may not be a new trial or
a full resentencing). Thus, where, as here, the issue is merely a correction to the structure of the
sentence imposed, the Court can and should issue an amended judgment without further
proceedings.
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        Galanis’s appeal is fully briefed and the parties are awaiting a date for oral argument. Even
under his corrected sentence, Galanis has approximately 97 months imprisonment left to serve.
Accordingly, because the Court presently lacks jurisdiction to decide the motion and because there
is no immediate urgency, the parties respectfully suggest that they notify the Court when Galanis’s
appeal has been decided at which point the parties will renew their request that the Court enter an
amended judgment.




                                                        Respectfully submitted,


                                                        AUDREY STRAUSS
                                                        Acting United States Attorney for
                                                        the Southern District of New York

                                                  By:          /s/
                                                        Rebecca Mermelstein
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